   Case 5:14-cr-00039-MFU-JGW            Document 77        Filed 03/05/15     Page 1 of 2
                                        Pageid#: 217                          nlpRo OFFIJE tJ.9.DISX K L'
                                                                                    AT> Dc ,VA
                                                                                         FILED

                     IN TH E UN ITED STATES DISTRICT COURT                             MA2 25 2915
                     FOR TH E W ESTERN DISTRICT O F VIRGIN IA                      JUm C.           CLEM
                             H ARR ISO N BU R G D IW SIO N                       BY:
                                                                                       DEP       LER

U N IT ED STATE S O F A M ER ICA ,
                                                             Case N o.5:14c:00039-1


SHAN N ON LEE STICKLEY
     D efendant.
                                                            By:    M ichaelF.U rbansld
                                                                   UnitedStatesDistrictludge

                                            O RD ER

       ThecourtreferredthiscasetoUnitedStatesMagisttateJudgeJamesG.W elshforconduct
ofa plea hearing and plea colloquy underRule 11 ofthe FedetalRlzlesofCrim inalProcedttre

pursuantto28U.S.C.j6369$(3).Themagisttatejudgeflledateportandtecommendadonon
February 6,2015 recom m ending thatdefendant'splea ofgtzt
                                                        'lty to CountO ne ofthe Indic% entbe

accepted.Noobjecdonsweteflledbyeitherpartytotherepottandrecommendadon,andthecourt
isofthe opinion thatthe reportand recom m endadon should be adopted in itsentitety.

       The couttnotes one changeto thereportand tecom m endadon thatm ustbe m ade in the

interestofcom pleteclarity.Page 6 ofthe reportstates thatthe term ofsupervised releaseisKfatleast

3 years.''H ow ever,the correctte= ofsupervised teleaseyasreflected in the plea agreem enq isa

m axim um ofthtee years.A ccordingly,the courtM O D IFIE S the reportto teflectthatthe

m axim um tet'm ofsupervised release isthreeyears.

       Accordingly,itis O RD ER ED thatsaid teportand the fm dingsand recom m endadon

contained thetein ate hereby A CCEPT ED ,defendant'splea ofgttilty to CountO ne ofthe

lndictmentand pleaagreementareACCEPTED ,and thedefendantisadjudged GUILTY of
CountO ne ofthe Indictm ent.
Case 5:14-cr-00039-MFU-JGW     Document 77     Filed 03/05/15   Page 2 of 2
                              Pageid#: 218



  ltisso O RD ER ED .

                                 Entered: M arch      ,2015

                        /+/      02--2 .                 -,4r.
                                 M ichaelF.Urbanski
                                 UnitedStatesDisttictludge




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